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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Judge Philip A. Brimmer

  Civil Action No. 14-cv-02406-PAB-KLM

  FRANKY L. SESSION,

         Plaintiff,

  v.

  DEPUTY SHERIFF CAPTAIN ROMERO, in his individual capacity, and
  DEPUTY SHERIFF SERGEANT JORDAN, in his individual capacity,

       Defendants.
  _____________________________________________________________________

                                  ORDER
  _____________________________________________________________________

         This matter comes before the Court on Plaintiff’s Motion for Writs of Habeas

  Corpus Ad Testificandum [Docket No. 377]. In his motion, plaintiff requests a writ of

  habeas corpus pursuant to 28 U.S.C. § 2241(c)(5) directing the Colorado Department

  of Corrections (“CDOC”) to transport plaintiff and another prisoner, Kenneth W alker, to

  Denver for trial. Docket No. 377 at 1-2. The trial in this case is set to begin in January

  28, 2019. Docket No. 359.

         Section 2241(c)(5) of Title 28 provides that the “writ of habeas corpus shall not

  extend to a prisoner unless . . . [i]t is necessary to bring him into court to testify or for

  trial.” “The decision to issue a writ of habeas corpus ad testificandum to permit a

  prisoner’s presence is committed to the sound discretion of the district court.” Hawkins

  v. Maynard, 89 F.3d 850, 1996 WL 335234, at *1 (10th Cir. June 18, 1996)

  (unpublished table decision). In exercising that discretion, a court “must weigh the

  prisoner’s need to be present against concerns of expense, security, logistics and
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  docket control” (the “Muhammad factors”). Id. (citing Muhammad v. Warden, Baltimore

  City Jail, 849 F.2d 107, 111-12 (4th Cir. 1988)). These factors apply regardless of

  whether the prisoner is a litigant or a nonparty witness. Id.

         Plaintiff argues that his presence at trial “is necessary for [him] to have a full and

  fair opportunity to prove his claims.” Docket No. 377 at 3. Specifically, he states that

  he will testify as to his repeated requests to leave Unit 4D, his willingness to move to

  Unit 4A, and the fact that he did not receive weekly reviews of his housing placement.

  Id. Plaintiff avers that the expenses, security concerns, and logistical issues associated

  with his transport will be minimal: he is incarcerated only two hours from Denver, his

  “criminal charges are not violent in nature, and the CDOC is experienced in regularly

  transporting prisoners for a multitude of reasons.” Id. at 4. Last, plaintiff contends that

  his “live testimony is best suited to preventing any disruption to the Court’s docket.” Id.

  (quoting Kocsis v. Kendall, 2016 WL 7852315, at *1 (D. Kan. June 2, 2016)).

         Defendants respond that, although they do not oppose plaintiff’s request, they

  are concerned about “the potential for trial disruptions” given plaintiff’s statements at the

  August 9, 2018 trial preparation conference that his medical issues would make it

  difficult for him to appear in court. Docket No. 381 at 6. At that hearing , plaintiff

  indicated, for example, that he is physically bent over with his chest touching his

  kneecaps, requires significant assistance in performing basic tasks, needs to take

  regular breaks to use the restroom due to his medical issues, and would be able to

  remain in court for no more than three hours. Plaintiff also stated that he was “not well

  enough to travel” and would prefer to testify via videoconference from his correctional



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  facility in the event pro bono counsel was appointed.

         Plaintiff’s motion does not acknowledge that in August plaintiff stated that he

  could not travel due to health reasons and preferred to testify via video teleconference.

  Plaintiff’s motion also does not explain what accommodations plaintiff would require at

  trial, how long he could remain in the courtroom on any given day, and whether plaintiff

  requests to be present during all parts of the trial.

         While plaintiff is entitled to a fair opportunity to prove his claims, plaintiff provides

  no explanation for why he cannot do so through videoconferencing. In light of his

  previous statements to the Court and the failure of his motion to address such

  concerns, the Court will deny the motion to writ the plaintiff for trial. Instead, plaintiff is

  encouraged to explore the means for him to appear and monitor the trial via

  teleconference.

         Plaintiff also requests a writ of habeas corpus directing the CDOC to make DOC

  inmate Kenneth Walker available for trial. Docket No. 377 at 4. In support of his

  request, plaintiff states that Mr. Walker’s “testimony will directly contradict Defendants

  and Dr. Gafford’s testimony, corroborate Mr. Session’s testimony, and provide direct

  evidence of Defendants’ punitive intent.” Id. at 5. Specifically, Mr. Walker is expected

  to testify testify “about his observations of how frequently Defendants and Dr. Gafford

  met with Mr. Session, statements made by Defendants to Mr. Session that suggest

  Defendants were keeping Mr. Session in Unit 4D because of his charges, and

  interactions between Plaintiff and Mr. Walker in which Plaintiff stated he wanted to be

  moved out of Unit 4D.” Id. at 4-5. Defendants oppose plaintiff’s request for a writ of

  habeas corpus as to Mr. Walker. Docket No. 381 at 2. They argue that plaintiff did not

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  list Mr. Walker as a witness in the final pretrial order and has not moved to amend the

  order pursuant to Fed. R. Civ. P. 16(e). Id. at 3.

         Given the proximity to trial, the Court will construe plaintiff’s motion for a writ of

  habeas corpus concerning Mr. Walker as a motion to amend the final pretrial order

  under Rule 16(e).1 The “pretrial order measures the dimensions of the lawsuit, both in

  the trial court and on appeal,” Youren v. Tintic Sch. Dist., 343 F.3d 1296, 1304 (10th

  Cir. 2003) (internal quotation marks omitted), and may be modified “only to prevent

  manifest injustice.” Fed. R. Civ. P. 16(e). The party moving to amend the pretrial order

  bears the burden of showing that manifest injustice would result if amendment is not

  permitted. Davey v. Lockheed Martin Corp., 301 F.3d 1204, 1208 (10th Cir. 2002). In

  evaluating whether the party has made this showing, the Court considers the following

  factors: “(1) prejudice or surprise to the party opposing trial of the issue; (2) the ability of

  that party to cure any prejudice; (3) disruption to the orderly and efficient trial of the

  case by inclusion of the new issue; and (4) bad faith by the party seeking to modify the

  order.” Koch v. Koch Indus., Inc., 203 F.3d 1202, 1222 (10th Cir. 2000).

         Defendants contend that these factors weigh against amendment because (1)

  plaintiff has not provided any explanation for failing to list Mr. Walker as a witness



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           The Court agrees with defendants that a party’s trial witness list does not
  supersede the final pretrial order and thus plaintiff should have moved to amend the
  final pretrial order pursuant to Fed. R. Civ. P. 16(e). However, the Court declines to
  deny plaintiff’s motion on this basis. Defendants have already presented their
  arguments opposing amendment, see Docket No. 381 at 3 n.1(acknowledging
  possibility that Court would construe plaintiff’s motion as a request to amend the final
  pretrial order), and requiring plaintiff to file an additional motion for leave to amend at
  this juncture would only delay resolution of the issue, which, given the proximity of trial,
  would be prejudicial to both parties.

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  earlier in the case, and (2) defendants will have difficulty obtaining discovery of Mr.

  Walker before trial. Docket No. 381 at 5. However, on June 4, 2018, the date of the

  final pretrial order, Docket No. 300, plaintiff was still proceeding pro se in this matter.

  He was not appointed pro bono counsel until August 21, 2018. Docket No. 352. Since

  that time, counsel has worked diligently to supplement the evidence and prepare this

  case for trial. See, e.g., Docket No. 364. On November 13, 2018, plaintiff’s counsel

  informed counsel for defendants that plaintiff intended to compel Mr. Walker’s

  attendance at trial. Docket No. 377 at 6. Given these facts, the Court finds no

  evidence that plaintiff has acted in bad faith by seeking to modify the final pretrial order

  at this juncture.

         Regarding the issue of prejudice, the Court agrees that defendants should have

  an opportunity to seek discovery from Mr. Walker before trial. However, there is

  sufficient opportunity for them to do so. Even with the procedural requirements

  applicable to prisoners, defendants indicate that they would be able to depose Mr.

  Walker before the presently scheduled trial date. See Docket 381 at 5. This time

  frame is not unreasonable, given the nature of Mr. Walker’s testimony, and defendants

  provide no specific argument as to why conducting the deposition one month before

  trial would unduly hamper their ability to defend against plaintiff’s claims.

         In summary, the four factors listed above weigh in favor of allowing plaintiff to

  amend the final pretrial order to add Mr. Walker as a witness. To the extent that

  plaintiff intends to present Mr. Walker’s testimony at trial, defendants are granted leave

  to depose Mr. Walker, consistent with Fed. R. Civ. P. 26(b)(1) and (2). See Fed. R. Civ.

  P. 30(a)(2)(B) (providing that the court “must grant leave [to depose a person confined

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  in prison] to the extent consistent with Rule 26(b)(1) and (2)).

            The Muhammad factors further support the issuance of a writ of habeas corpus

  so that Mr. Walker can testify in person at trial. Mr. Walker is presently incarcerated

  only two hours from Denver, the CDOC regularly transports prisoners from that

  distance, and defendants have not identified any security, logistical, or other concerns

  that would counsel against allowing Mr. Walker’s physical presence at trial.

            For the foregoing reasons, it is

            ORDERED that Plaintiff’s Motion for Writs of Habeas Corpus Ad Testificandum

  [Docket No. 377] is GRANTED in part and DENIED in part as stated in this order. It is

  further

            ORDERED that the Clerk of the Court issue a writ to Rick Raemisch, Executive

  Director, Colorado Department of Corrections, and to Steven Owens, Warden,

  Colorado State Penitentiary, requiring Mr. Owens to produce Kenneth W alker,

  Department of Corrections Inmate No. 166689, before Judge Philip A. Brimmer of the

  United States District Court for the District of Colorado, for the proceedings scheduled

  to begin January 28, 2019 at 8:00 a.m., and to hold him at all times in the custody of

  the Colorado Department of Corrections until the conclusion of the trial, and thereafter

  to return Mr. Walker to the institution where he is now confined. It is further

            ORDERED that defendants are granted leave to depose Kenneth W alker

  pursuant to Fed. R. Civ. P. 30(a)(2)(B). It is further

            ORDERED that Plaintiff’s Motion for Court Ordered Handicap Transportation and

  Cuffing for Trial [Docket No. 305] is DENIED without prejudice.



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        DATED December 10, 2018.

                               BY THE COURT:


                                s/Philip A. Brimmer
                               PHILIP A. BRIMMER
                               United States District Judge




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